       Case 3:18-cv-01200-WHO Document 96 Filed 10/18/18 Page 1 of 5



 1   Andrew J. Silver (pro hac vice)
     TYCKO & ZAVAREEI LLP
 2   1828 L Street, N.W., Suite 1000
     Washington, DC 20036
 3   Phone: 202-973-0900
     Fax: 202-973-0950
 4   Email: asilver@tzlegal.com

 5   Attorney for Plaintiffs
     [additional counsel on signature page]
 6
     Virginia A. Gibson (admitted pro hac vice)
 7   HOGAN LOVELLS US LLP
     1735 Market Street
 8   Philadelphia, PA 19103-2799
     Tel: (267) 675-4600
 9   Fax: (267) 675-4601
     Email: virginia.gibson@hoganlovells.com
10
     Attorney for Defendant Plain Green, LLC
11   [additional counsel on signature page]
12   Richard L. Scheff (admitted pro hac vice)
     Jonathan P. Boughrum (admitted pro hac vice)
13   David F. Herman (admitted pro hac vice)
     ARMSTRONG TEASDALE, LLP
14   1500 Market Street, Fl. 12, East Tower
     Philadelphia, PA 19102
15   Telephone: 215.246.3478
     Email: rscheff@armstrongteasdale.com
16
     Attorneys for Defendants L. Steven Haynes and Haynes Investments, LLC
17   [additional counsel on signature page]
18                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
19
      KIMETRA BRICE, EARL BROWNE, and                   Case No.: 3-18-cv-01200-WHO
20    JILL NOVOROT,
21           Plaintiffs,
                                                        STIPULATION TO CONTINUE CASE
      v.
22                                                      DEADLINES
      KENNETH REES, GPL SERVICING, LTD.,
23    PLAIN GREEN, LLC, GREAT PLAINS
      LENDING, LLC, VICTORY PARK CAPITAL
24    ADVISORS, LLC, VICTORY PARK
25    MANAGEMENT, LLC, SCOTT ZEMNICK,
      JEFFREY SCHNEIDER, THOMAS WELCH,
26    HAYNES INVESTMENTS, LLC, and
      L. STEPHEN HAYNES,
27
                            Defendants.
28
                                                             STIPULATION TO CONTINUE DEADLINES
                                                    1                          3:18-CV-1200-WHO
       Case 3:18-cv-01200-WHO Document 96 Filed 10/18/18 Page 2 of 5



 1          WHEREAS, on August 21, 2018, the Parties appeared before the Court for a Joint Case
 2   Management Conference (“CMC”);
 3
            WHEREAS, during the CMC, the Court ordered that preliminary motions be filed no later
 4
     than October 10, 2018, and that in the meantime the parties work collaboratively to assure that
 5
     adequate jurisdictional discovery and other necessary information has been disclosed;
 6

 7          WHEREAS, in the time since the CMC, the Parties have been working to engage in

 8   discovery. To wit, the parties exchanged initial disclosures on September 4, 2018. Plaintiffs also

 9   identified specific categories of jurisdictional discovery needed and contained in requests for
10
     production served on May 29, 2018, and August 29, 2018. On September 28, 2018, Defendants
11
     Haynes Investments, LLC and L. Stephen Haynes (“the Haynes Defendants”) provided written
12
     responses to Plaintiffs’ discovery requests; on October 3, 2018, Defendant Plain Green, LLC
13
     (“Plain Green”) provided written responses to Plaintiffs’ discovery requests; and on September 20
14

15   and October 5, 2018, Plain Green made initial productions of documents responsive to Plaintiffs’

16   discovery requests. The parties have been engaged in ongoing meet and confers relating to
17   Defendants’ objections to Plaintiffs discovery requests, with Plaintiffs anticipating the need to file
18
     motions to compel regarding the same;
19
            WHEREAS, in the time since the CMC, the Parties have also engaged in initial settlement
20
     discussions;
21

22          WHEREAS, on October 10, 2018, the Haynes Defendants filed motions to (i) dismiss the

23   case, (ii) compel arbitration, and (iii) stay the proceedings, and on the same date, Plain Green filed

24   a motion to dismiss the case;
25          WHEREAS, pursuant to Local Rule 7-3, Plaintiffs would be required to submit responses
26
     to the Haynes Defendants’ and Plain Green’s motions on October 24, 2018, with the Haynes
27

28                                                              STIPULATION TO CONTINUE DEADLINES
                                                      2                             3:18-CV-1200-WHO
       Case 3:18-cv-01200-WHO Document 96 Filed 10/18/18 Page 3 of 5



 1   Defendants and Plain Green thereafter being required to submit reply memoranda in support of
 2   their motions on October 31, 2018, and a hearing on the motions is currently scheduled for
 3
     November 14, 2018, at 2:00 p.m.;
 4
            WHEREAS, the Parties believe that they will benefit from continued settlement
 5
     negotiations and want to avoid potential unnecessary expenditure of time and resources on
 6

 7   discovery disputes and further briefing on Defendants’ motions should they be able to reach

 8   agreement on material terms of a settlement;

 9          WHEREAS, additionally, the Parties are still meeting-and-conferring regarding discovery
10
     matters, and depending on the outcome of the meet-and-confer and settlement negotiations might
11
     submit a discovery dispute to the Court consistent with the procedures outlined in the Court’s
12
     standing order;
13
            WHEREAS, pursuant to Local Civil Rule 6-1(b), a Court order is necessary to extend the
14

15   briefing schedule and reschedule the motion hearing;

16          WHEREAS, the postponement will not impact any other scheduled dates;
17          WHEREAS, this is the first time modification requested by the Parties both on the pending
18
     motions and in this case as a whole;
19
            NOW, THEREFORE IT IS STIPULATED, by and between the undersigned Parties,
20
     through their respective counsel of record, pursuant to Rule 6 and Local Civil Rules 6-1(b) and
21

22   2(a), that (i) Plaintiffs shall file their response briefs in opposition to Defendants’ pending motions

23   outlined herein on November 28, 2018, (ii) Defendants’ shall file their reply memoranda in support

24   of the motions outlined herein on December 5, 2018, and (iii) the Parties shall appear on December
25   19, 2018, at 2:00 p.m. for the hearing on those motions.
26
27

28                                                              STIPULATION TO CONTINUE DEADLINES
                                                       3                            3:18-CV-1200-WHO
      Case 3:18-cv-01200-WHO Document 96 Filed 10/18/18 Page 4 of 5



 1   STIPULATED AND AGREED:
 2   /s/ Andrew J. Silver                       /s/ Virginia A. Gibson
     Annick M. Persinger (SBN 272996)           Virginia A. Gibson (admitted pro hac vice)
 3   Anna C. Haac (pro hac vice)                Kendyl E. Keesey (admitted pro hac vice)
     Andrew J. Silver (pro hac vice)            HOGAN LOVELLS US LLP
 4   TYCKO & ZAVAREEI LLP                       1735 Market Street
     1828 L Street, N.W., Suite 1000            Philadelphia, PA 19103-2799
 5   Washington, DC 20036                       Tel: (267) 675-4600
     Phone: 202-973-0900                        Fax: (267) 675-4601
 6   Fax: 202-973-0950                          Email: virginia.gibson@hoganlovells.com
     Email: apersinger@tzlegal.com                      kendyl.keesey@hoganlovells.com
 7          ahaac@tzlegal.com
            asilver@tzlegal.com                 Michael J. Shepard (SBN 91281)
 8                                              HOGAN LOVELLS US LLP
     Annick M. Persinger (SBN 272996)           3 Embarcadero Center, Suite 1500
 9   TYCKO & ZAVAREEI LLP                       San Francisco, California 94111
     The Tower Building                         Tel: (415) 374-2300
10   1970 Broadway, Suite 1070                  Fax: (415) 374-2499
     Oakland, CA 94612                          Email: michael.shepard@hoganlovells.com
11   Telephone: (510) 254-6808
     Facsimile: (202) 973-0950                  Colleen E. Roh Sinzdak (admitted pro hac vice)
12   Email: apersinger@tzlegal.com              Kyle Druding (admitted pro hac vice)
                                                HOGAN LOVELLS US LLP
13   Craig C. Marchiando, Esq., (SBN 283829)    555 13th St. NW
     Leonard A. Bennett, Esq., (pro hac vice)   Washington DC, 20004
14   CONSUMER LITIGATION                        Tel: (202) 637-5600
     ASSOCIATES, P.C.                           Fax: (202) 637-5910
15   763 J. Clyde Morris Blvd., Ste. 1-A        Email: colleen.sinzdak@hoganlovells.com
     Newport News, VA 23601                             kyle.druding@hoganlovells.com
16   Telephone: (757) 930-3660
     Facsimile: (757) 930-3662                  Joseph Fredericks Halloran (admitted pro hac
17   Email: lenbennett@clalegal.com             vice)
     Email: craig@clalegal.com                  THE JACOBSON LAW GROUP
18                                              180 East Fifth Street
     Kristi C. Kelly, Esq., (pro hac vice)      Suite 940
19   Andrew J. Guzzo, Esq., (pro hac vice)      Saint Paul, MN 55101
     KELLY & CRANDALL, PLC                      651-644-4710
20   3925 Chain Bridge Road, Suite 202          Email: jhalloran@thejacobsonlawgroup.com
     Fairfax, VA 22030
21   (703) 424-7572                             Jeffrey Michael Goldman
     (703) 591-0167 Facsimile                   PEPPER HAMILTON LLP
22   Email: kkelly@kellyandcrandall.com         4 Park Plaza, Suite 1200
     Email: aguzzo@kellyandcrandall.com         Irvine, CA 92614
23                                              949-567-3547
     Attorneys for Plaintiffs                   Fax: 949-863-0151
24                                              Email: goldmanj@pepperlaw.com
25

26
27

28                                                      STIPULATION TO CONTINUE DEADLINES
                                                4                           3:18-CV-1200-WHO
       Case 3:18-cv-01200-WHO Document 96 Filed 10/18/18 Page 5 of 5



 1
      /s/ Richard L. Scheff                           Richard J. Zack
 2    Richard L. Scheff (admitted pro hac vice)       PEPPER HAMILTON LLP
      Jonathan P. Boughrum (admitted pro hac          3000 Two Logan Square
 3    vice)                                           Eighteenth and Arch Streets
      David F. Herman (admitted pro hac vice)         Philadelphia, PA 19103-2799
 4    ARMSTRONG TEASDALE, LLP                         215-981-4726
      1500 Market Street, Fl. 12, East Tower          Fax: 800-521-6515
 5    Philadelphia, PA 19102                          Email: ZackR@pepperlaw.com
      Telephone: 215.246.3478
 6    Email: rscheff@armstrongteasdale.com            Attorneys for Defendant
              jboughrum@armstrongteasdale.com         Plain Green, LLC
 7            dherman@armstrongteasdale.com
 8    Anna McLean (SBN 142233)
 9    Daniel R. Fong (SBN 311985)
      SHEPPARD MULLIN RICHTER &
10    HAMPTON LLP
      4 Embarcadero Center, 17th Floor
11    San Francisco, CA 94111
      Telephone: (415) 774-2923
12    Email:    amclean@sheppardmullin
13              dfong@sheppardmullin.com

14    Attorneys for Defendants
      L. Steven Haynes and Haynes Investments,
15    LLC

16

17          Pursuant to Local Civil Rule 6-2(a), and GOOD CAUSE APPEARING THEREFOR, the

18   stipulated schedule set forth above is hereby adopted.

19          PURSUANT TO STIPULATION, IT IS SO ORDERED,

20
21   DATED:        October 18, 2018
                   __________                             _____________________________________
                                                          THE HONORABLE WILLIAM H. ORRICK
22
                                                          UNITED STATES DISTRICT JUDGE
23

24

25

26
27

28                                                            STIPULATION TO CONTINUE DEADLINES
                                                     5                            3:18-CV-1200-WHO
